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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                        NIMESH PATEL, et al.,
                                   7                                                         Case No. 3:15-cv-03747-JD (DMR)
                                                        Plaintiffs,
                                   8
                                                 v.                                          NOTICE OF SETTLEMENT
                                   9                                                         CONFERENCE AND SETTLEMENT
                                        FACEBOOK INC.,                                       CONFERENCE ORDER
                                  10
                                                        Defendant.                           Re: Dkt. No. 316
                                  11

                                  12            TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13            The above matter was referred to Magistrate Judge Donna M. Ryu for settlement purposes.

                                  14   You are hereby notified that a settlement conference is scheduled for May 4, 2018, at 11:00 a.m.,

                                  15   in Courtroom No. 4, Third Floor, U.S. District Court, 1301 Clay Street, Oakland, California

                                  16   94612.

                                  17            If all parties, counsel, and other mandatory attendees are not available on the above date,

                                  18   counsel shall notify the court in writing within 3 business days. The parties should be mindful of

                                  19   any time limits set by the judge to whom the case is assigned. If written notice is not provided

                                  20   within 3 business days, the settlement conference date as stated above shall remain in effect.

                                  21            It is the responsibility of counsel to ensure that whatever formal or informal discovery is

                                  22   needed for all sides to evaluate the case for settlement purposes is completed by the date of the

                                  23   settlement conference.

                                  24   A.       Meet and Confer Requirement.

                                  25            No later than fourteen (14) calendar days before the settlement conference and prior to

                                  26   the preparation of their Exchanged Settlement Conference Statements and Confidential Settlement

                                  27   Letters, counsel for the parties must meet and confer (in person or by phone) to discuss matters

                                  28   pertinent to improving the prospects that the settlement negotiations will be productive. During
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                                   1   the meet and confer, counsel may address any subjects they feel are appropriate, but they must

                                   2   discuss the following:

                                   3          1.       Who will attend the conference on behalf of each party, including counsel and

                                   4   identification of the person(s) with full authority to make the final decision as to whether any

                                   5   settlement offer is made, accepted, or rejected (e.g., either the party or another person(s) if full

                                   6   authority does not rest with the party).

                                   7          2.       Which persons or entities must approve a proposed settlement agreement before it

                                   8   can be executed, as well as the nature and duration of any such approval process.

                                   9          3.       Whether insurance is available to cover all or part of the claimed losses or to fund

                                  10   all or part of any party's defense; whether tenders have been made to any insurance companies;

                                  11   and if insurance is available, the name of and position held by each claims representative who will

                                  12   be attending the settlement conference.
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                                  13          4.       Whether it would be useful for settlement demands and/or offers to be made before

                                  14   the settlement conference is convened.

                                  15          5.       Whether there are particular documents or other tangible things that should be

                                  16   brought to the conference (e.g., to educate the settlement judge or to support or explain significant

                                  17   contentions).

                                  18          6.       Any unusual issues or factors that could come into play in the settlement

                                  19   negotiations or any especially sensitive matters that other counsel should be alerted to before the

                                  20   conference.

                                  21   B.     Lodged Settlement Conference Documents.

                                  22          No later than ten (10) calendar days prior to the settlement conference, each party

                                  23   shall submit the following:

                                  24          (1) an Exchanged Settlement Conference Statement; and

                                  25          (2) a Confidential Settlement Letter.

                                  26          Two copies of each document shall be LODGED (not filed) with the U.S. District Court

                                  27   Clerk's Office in Oakland, located at 1301 Clay Street, Suite 400S, 4th Floor, Oakland, California

                                  28   94612. The documents shall be submitted in a sealed envelope addressed to Magistrate Judge Ryu
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                                   1   and prominently marked "SETTLEMENT CONFERENCE DOCUMENTS - DO NOT FILE."

                                   2          1.      Exchanged Settlement Conference Statements.

                                   3          Counsel shall serve a copy of the Settlement Conference Statement on all parties.

                                   4   Furthermore, counsel are strongly encouraged prior to the settlement conference to share with

                                   5   their clients the contents of the Settlement Conference Statement(s) received from opposing

                                   6   counsel.

                                   7          The Settlement Conference Statement shall not exceed ten (10) pages of text. Parties are

                                   8   encouraged to include as exhibits any key documents and deposition excerpts up to twenty (20)

                                   9   pages. The Settlement Conference Statement shall include the following:

                                  10                  a.     A brief statement of the facts of the case.

                                  11                  b.     A brief statement of the principal claims and defenses.

                                  12                  c.     A description of the key factual and legal issues that are in dispute and a
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                                  13   plain and concise statement of the specific evidence relevant to their determination. Portions of

                                  14   any exhibits relied upon by the parties shall be referenced and highlighted.

                                  15                  d.     A summary of the proceedings to date and a description of any pending

                                  16   motions.

                                  17                  e.     The bases for any damages calculations and a description of any non-

                                  18   monetary relief sought or non-monetary components of settlement offers or demands.

                                  19                  f.     A description of each component of each party's most recently

                                  20   communicated settlement demand or offer (describing specifically any non-monetary terms that

                                  21   were demanded or offered).

                                  22                  g.     For each party, a list of the names, titles, and positions of all persons who

                                  23   will be attending the conference.

                                  24                  h.     Where the party is a governmental entity, a description of which persons or

                                  25   entities must approve a proposed settlement agreement before it can be executed, as well as the

                                  26   nature and duration of that approval process.

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                                   1          2.      Confidential Settlement Letters.

                                   2          The Confidential Settlement Letter shall not be served upon other parties. The

                                   3   Confidential Settlement Letter shall not exceed five (5) pages of text and shall include the

                                   4   following:

                                   5                  a.      Separately for each principal claim and defense, a forthright evaluation of

                                   6   the strengths and weaknesses and likelihood that the party submitting the Confidential Letter will

                                   7   prevail. Citations to any key legal authorities relied upon by the parties as part of this evaluation

                                   8   shall be provided.

                                   9                  b.      An estimate of the out-of-pocket expenses, attorneys' fees, and time: (a)

                                  10   spent to date and (b) to be expended for further discovery, pretrial, and trial. If plaintiff seeks

                                  11   attorneys' fees and costs, plaintiff's counsel shall be prepared at the conference to provide

                                  12   sufficient information to enable the fee claim to be evaluated for purposes of settlement.
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                                  13                  c.      A history of past settlement discussions (without revealing communications

                                  14   whose disclosure to a settlement judge is prohibited), a description of the principal obstacles

                                  15   (factual, legal, or other) to reaching agreement, and the reason the parties' assessments of the

                                  16   settlement value of the case differ.

                                  17                  d.      A realistic settlement figure or terms (including any non-monetary terms)

                                  18   that, given all the circumstances, the party submitting the Confidential Letter would consider

                                  19   seriously.

                                  20                  e.      Where the party is insured or is a governmental entity, any foreseeable

                                  21   barriers to insurance coverage or approval of a proposed settlement, or special concerns that the

                                  22   insurer or governmental entity might want addressed.

                                  23                  f.      A brief discussion of any of the subjects identified in Section A of this

                                  24   Order that might be significant in the settlement dynamic.

                                  25   C.     Mandatory Personal Attendance.

                                  26          Lead trial counsel shall appear at the settlement conference with the parties and with the

                                  27   person(s) having full authority to make the final decision as to whether any settlement offer is

                                  28   made, accepted, or rejected (if full authority does not rest with the party). A person who needs to
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                                   1   call another person not present before making, accepting, or rejecting any settlement offer does

                                   2   not have such full authority. If a party is a governmental entity, its governing body shall

                                   3   designate one of its members or a senior executive to appear at the settlement conference with

                                   4   authority to participate in the settlement conference and, if a tentative settlement agreement is

                                   5   reached, to recommend the agreement to the governmental entity for its approval. An insured

                                   6   party shall appear with a representative of the carrier with full authority to negotiate up to the

                                   7   limits of coverage.

                                   8          Personal attendance is mandatory and will rarely be excused by the court, and then only

                                   9   upon a written request that is timely under the circumstances and that demonstrates extraordinary

                                  10   hardship. Personal attendance may be excused only upon written authorization from the court. If

                                  11   the court permits attendance by telephone, the person who is excused from personally appearing

                                  12   must be available to participate by telephone throughout the entire conference.
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                                  13   D.     Duration and Content of Settlement Conference.

                                  14          It is not unusual for settlement conferences to last three (3) or more hours. Parties and

                                  15   their representatives should be prepared to devote the entire day to the conference if necessary.

                                  16   Parties are encouraged to participate in the settlement conference and frankly discuss their case.

                                  17   Statements they make during the conference will not be admissible at trial in the event the case

                                  18   does not settle. The parties and their representatives should be prepared to discuss such issues as

                                  19   their settlement objectives; any impediments to settlement they perceive; whether they have

                                  20   enough information to discuss settlement and if not, what additional information is needed; and

                                  21   the possibility of a creative resolution of the dispute.

                                  22   E.     Continuances.

                                  23          Any request to continue the settlement conference shall state the reason therefor and be

                                  24   submitted in writing as soon as possible after consultation with the opposing party but well in

                                  25   advance of the scheduled conference date. The request must demonstrate a compelling reason

                                  26   for a continuance and shall state whether it is joined or opposed by the other party(ies).

                                  27   Submission of such request shall be filed with the court; a courtesy copy must be provided no later

                                  28   than 12:00 noon on the day after the document is filed. Parties must appear on the calendared
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Northern District of California
 United States District Court




                                  13           IT IS SO
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                                  14   Daated: April 4,, 2018
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                                                                                           DOONNA M. R   RYU
                                  16                                                       Unnited States M
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